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                                             2
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                                             6
                                                  Attorneys for Plaintiffs, Our Peculiar Family,
                                             7    Elisabeth Macy, Hannah Macy, Melissa Macy,
                                                  And Christiana Macy
                                             8
                                             9                         UNITED STATES DISTRICT COURT
                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                            10
                                                                            WESTERN DIVISION
                                            11
                                                   OUR PECULIAR FAMILY, a sole                     Case No.: 2:20-cv-00331-ODW-JC
                                            12     proprietorship; ELISABETH MACY, an
                                            13     individual, d.b.a. Our Peculiar Family;         VERIFIED FIRST AMENDED
                                                   HANNAH MACY, an individual, d.b.a.              COMPLAINT
                                            14     Our Peculiar Family; MELISSA MACY,
                                            15     an individual, d.b.a. Our Peculiar              Violations of:
                                                   Family; and CHRISTIANA MACY, an
                                            16     individual, d.b.a. Our Peculiar Family,            1. First Amendment
                                            17                                                           (Free Speech)
                                                                 Plaintiffs,                          2. First Amendment (Retaliation)
                                            18     vs.                                                3. First Amendment
                                            19                                                           (Free Exercise of Religion)
                                                   INSPIRE CHARTER SCHOOLS, a                         4. First Amendment
                                            20     nonprofit corporation; CALEB JONES,                   (Establishment of Religion)
                                            21     individually and in his official capacity          5. Fourteenth Amendment
                                                   as Vendor Support Team Lead for                       (Equal Protection)
                                            22     INSPIRE CHARTER SCHOOLS; and                       6. Fourteenth Amendment
                                            23     DOES 1 through 25,                                    (Due Process)
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                                                                                                      7. California Unruh Civil Rights
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                                            24                  Defendants.                              Act (Cal. Civ. Code §§ 51, 51.5,
                                            25                                                           52 & 52.1)
                                            26
                                                                                                   Demand For Jury Trial
                                            27
                                            28
                                                                                               1                Case No.: 2:20-cv-00331-ODW-JC
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                                             1          Plaintiffs, Our Peculiar Family, Elisabeth Macy, Hannah Macy Melissa Macy
                                             2
                                                  and Christiana Macy by and through their undersigned counsel, bring this Complaint
                                             3
                                                  against the above-named Defendants, their employees, agents, and successors in
                                             4
                                             5    office, on their own behalf and as private attorneys general and in support thereof
                                             6
                                                  allege the following:
                                             7
                                                                                     INTRODUCTION
                                             8
                                             9                 “It is axiomatic that the government may not regulate speech based on
                                            10
                                                  its substantive content or the message it conveys.” Rosenberger v. Rector and
                                            11
                                            12    Visitors of U. of Virginia, 515 U.S. 819, 828 (1995). It is equally axiomatic that a

                                            13    public agency’s policy that “expressly discriminates against otherwise eligible
                                            14
                                                  recipients by disqualifying them from a public benefit solely because of their
                                            15
                                            16    religious character” (Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S.

                                            17    Ct. 2012, 2015 (2017)) “penalizes the free exercise of constitutional liberties” (Id. at
                                            18
                                                  2022). Indeed, “conditions upon public benefits cannot be sustained if they so
                                            19
                                            20    operate, whatever their purpose, as to inhibit or deter the exercise of First

                                            21    Amendment freedoms.” Sherbert v. Verner, 374 U.S. 398, 405 (1963). The
                                            22
                                                  government “‘may not deny a benefit to a person on a basis that infringes his
                                            23
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                                                  constitutionally protected . . . freedom of speech’ even if he has no entitlement to
                LOS ANGELES, CA 90064
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                                            24
                                            25    that benefit.” Board of Cty. Com’rs, Wabaunsee Cty., Kan. v. Umbehr, 518 U.S. 668,
                                            26
                                                  674 (1996) (quoting Perry v. Sindermann, 408 U.S. 593, 597 (1972)).
                                            27
                                            28
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                                             1                 This lawsuit challenges the indiscriminate abuse of discretionary power
                                             2
                                                  exercised by a charter school network’s vendor department in rejecting – solely on
                                             3
                                                  the basis of the religious content and/or viewpoint expressed on the vendor’s website
                                             4
                                             5    – the application of a Christian vendor to provide art instruction services to students
                                             6
                                                  enrolled in Defendants’ charter schools. As such, it seeks to vindicate fundamental
                                             7
                                                  constitutional rights.
                                             8
                                             9                 This lawsuit is a civil rights action brought pursuant to the First and
                                            10
                                                  Fourteenth Amendments to the United States Constitution and 42 U.S.C. § 1983, as
                                            11
                                            12    well as California’s Unruh Civil Rights Act, challenging Defendants’

                                            13    unconstitutional acts, policies, practices, procedures customs and/or omissions of as
                                            14
                                                  set forth in this Complaint.
                                            15
                                            16                 Specifically, Plaintiffs are challenging Defendants’ policy of restricting

                                            17    its use of funds to “secular services” provided by vendors contracting with
                                            18
                                                  Defendants (hereinafter, “Secular Only Vendor Policy”).
                                            19
                                            20                 Plaintiffs respectfully seek preliminary and permanent injunctions

                                            21    enjoining the Defendants from barring Plaintiffs and similarly situated vendors from
                                            22
                                                  contracting with Defendants on the basis of the religious content and/or viewpoint
                                            23
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                                                  appearing in the vendors’ promotional and other marketing materials. Plaintiffs seek
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                                            24
                                            25    said equitable relief against individually named Defendants for executing an official
                                            26
                                                  policy or custom in violation of Plaintiffs’ constitutional rights.
                                            27
                                            28
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                                             1                 Additionally, Plaintiffs respectfully seek a declaration that Defendant
                                             2
                                                  Jones’ interpretation, enforcement and implementation of the Secular Only Vendor
                                             3
                                                  Policy barring Plaintiffs and similarly situated vendors from contracting with
                                             4
                                             5    Defendants on the basis of the religious content and/or viewpoint appearing in the
                                             6
                                                  vendors’ promotional and other marketing material is unconstitutional. Plaintiffs
                                             7
                                                  also seek an award of damages against Defendant Jones, who acted under color of
                                             8
                                             9    state law to cause the deprivation of Plaintiffs’ federal rights, in his personal
                                            10
                                                  capacity.
                                            11
                                            12                 Plaintiffs also respectfully seek a declaration that the Secular Only

                                            13    Vendor Policy is unconstitutionally overbroad on its face.
                                            14
                                                               Plaintiffs also respectfully seek an award of the reasonable costs of
                                            15
                                            16    litigation, including attorney’s fees and expenses, pursuant to 42 U.S.C. § 1988, Cal.

                                            17    Civ. Code §§ 51, 51.5, 52 & 52.1 and 1021.5, and other applicable law.
                                            18
                                                    PRIVATE ATTORNEY GENERAL STANDING (Cal. Civ. Proc. § 1021.5)
                                            19
                                            20                 This lawsuit is additionally brought by Plaintiffs as private attorneys

                                            21    general pursuant to Cal. Civ. Proc. § 1021.5 to enforce an important right affecting
                                            22
                                                  the public interest. Plaintiffs stand in the shoes of all persons and businesses exposed
                                            23
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                                                  to invidious religious discrimination by Defendants arising from their Secular Only
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                                            24
                                            25    Vendor Policy solely by virtue of their religious characteristic or expression.
                                            26
                                            27
                                            28
                                                                                             4               Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 Plaintiffs therefore respectfully seek an award of attorney fees due to
                                             2
                                                  the necessity and financial burden of private enforcement of the public’s important
                                             3
                                                  constitutional free speech and religious liberty rights.
                                             4
                                             5                               JURISDICTION AND VENUE
                                             6
                                                               This action arises under the First and Fourteenth Amendments to the
                                             7
                                                  United States Constitution, and is authorized pursuant to 42 U.S.C. § 1983 in relation
                                             8
                                             9    to Defendants’ deprivation of the Plaintiffs’ constitutional rights. Accordingly, this
                                            10
                                                  Court has federal question jurisdiction under 28 U.S.C. §§ 1331 & 1343.
                                            11
                                            12                 Venue is proper under 28 U.S.C. § 1391(b). Each and all of the acts

                                            13    alleged herein were done by Defendants within Los Angeles County, California, and
                                            14
                                                  all Defendants reside or have their principle place of business located within Los
                                            15
                                            16    Angeles County, California.

                                            17                 This Court is authorized to grant a Declaratory Judgment under the
                                            18
                                                  Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, implemented through Rule 57 of
                                            19
                                            20    the Federal Rules of Civil Procedure, and to issue the injunctive relief requested by

                                            21    Plaintiffs under Rule 65 of the Federal Rules of Civil Procedure; the requested
                                            22
                                                  injunctive relief under 28 U.S.C. § 1343(3); the requested damages under 28 U.S.C.
                                            23
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                                                  § 1343(3); and attorneys’ fees and costs under 42 U.S.C. § 1988.
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                                                                                             5               Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 This Court has supplemental jurisdiction over pendent state law claims
                                             2
                                                  pursuant to 28 U.S.C. § 1367(a) and is therefore authorized to award statutory
                                             3
                                                  damages, attorneys’ fees and costs under Cal. Civ. Code § 52.
                                             4
                                             5                                       PLAINTIFFS
                                             6
                                                               Plaintiff Our Peculiar Family (hereinafter “OPF”) is, and at all times
                                             7
                                                  relevant to this Complaint was, a sole proprietorship based and operating in Kern
                                             8
                                             9    County, California. Its website is http://www.ourpeculiarfamily.com.
                                            10
                                                               Plaintiff Elisabeth Macy (hereinafter “Macy”) is an individual over the
                                            11
                                            12    age of 18 and a resident of Rosamond, California, in Kern County. At all times

                                            13    relevant to this Complaint, Macy, along with her co-Plaintiff sisters, is and was doing
                                            14
                                                  business as Our Peculiar Family with her sisters, Hannah Macy, Melissa Macy and
                                            15
                                            16    Christiana Macy. Macy is suing on her own behalf as well as on behalf of OPF.

                                            17                 Plaintiff Hannah Macy is an individual over the age of 18 and a resident
                                            18
                                                  of Rosamond, California, in Kern County. At all times relevant to this Complaint,
                                            19
                                            20    Hannah Macy, along with her co-Plaintiff sisters, is and was doing business as Our

                                            21    Peculiar Family with her sisters, Elisabeth Macy, Melissa Macy, and Christiana
                                            22
                                                  Macy. Hannah Macy is suing on her own behalf as well as on behalf of OPF.
                                            23
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                                                               Plaintiff Melissa Macy is an individual over the age of 18 and a resident
                LOS ANGELES, CA 90064
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                                            24
                                            25    of Rosamond, California, in Kern County. At all times relevant to this Complaint,
                                            26
                                                  Melissa Macy, along with her co-Plaintiff sisters, is and was doing business as Our
                                            27
                                            28
                                                                                            6               Case No.: 2:20-cv-00331-ODW-JC
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                                             1    Peculiar Family with her sisters, Elisabeth Macy, Hannah Macy, and Christiana
                                             2
                                                  Macy. Melissa Macy is suing on her own behalf as well as on behalf of OPF.
                                             3
                                                                   Plaintiff Christiana Macy is an individual over the age of 18 and a
                                             4
                                             5    resident of Rosamond, California, in Kern County. At all times relevant to this
                                             6
                                                  Complaint, Christiana Macy, along with her co-Plaintiff sisters, is and was doing
                                             7
                                                  business as Our Peculiar Family with her sisters, Elisabeth Macy, Hannah Macy, and
                                             8
                                             9    Melissa Macy. Christiana Macy is suing on her own behalf as well as on behalf of
                                            10
                                                  OPF.
                                            11
                                            12                                                  DEFENDANTS

                                            13                     Defendant Inspire Charter Schools (hereinafter “Inspire”), is a public
                                            14
                                                  entity established and organized under, and pursuant to, the laws of the State of
                                            15
                                            16    California with the authority to sue and to be sued in its own name. Inspire operates

                                            17    schools throughout the State of California with its principle place of business located
                                            18
                                                  in Duarte, California, Los Angeles County. On information and belief, Defendant
                                            19
                                            20    Inspire conducts its business operations, including the adoption of its policies toward

                                            21    vendors, within Los Angeles County. Inspire purportedly has an enrollment of over
                                            22
                                                  35,000 students attending 13 schools and numerous more home school
                                            23
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                                                  environments.1
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                                            24
                                            25
                                            26
                                                  1 Evan Symon, “Inspire Charter Schools Find Themselves In Dire Straits Across California Over Numerous
                                            27    Allegations,” California Globe (10/21/2019), https://californiaglobe.com/section-2/inspire-charter-schools-find-
                                                  themselves-in-dire-straits-across-california-over-numerous-allegations/.
                                            28
                                                                                                           7                     Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 Defendant Caleb Jones (hereinafter “Jones”) is employed with Inspire
                                             2
                                                  as Vendor Support Team Lead, Vendor Department. Jones is sued in his official
                                             3
                                                  capacity as Director of Vendor Support and Onboarding responsible for developing,
                                             4
                                             5    establishing, adopting, and implementing its policies, practices, procedure, customs,
                                             6
                                                  acts and omissions, including the challenged policies, practices, procedure, customs,
                                             7
                                                  acts and omissions set forth in this Complaint. Jones is sued in his personal capacity
                                             8
                                             9    for damages. At all relevant times herein, Defendant Jones was a “person” acting
                                            10
                                                  under the color of state law pursuant to 42 U.S.C. § 1983.
                                            11
                                            12                 Plaintiffs are ignorant of the true names and capacities of Defendants

                                            13    sued herein as Does 1 through 25, and for that reason have sued them by their
                                            14
                                                  fictitious names. On information and belief, Inspire policies and practices are
                                            15
                                            16    established by a “governing board,” whose members’ identities are presently

                                            17    unknown to Plaintiffs. On information and belief, Plaintiffs allege that each of these
                                            18
                                                  fictitiously named Defendants are responsible in some manner for some or all of the
                                            19
                                            20    acts alleged herein. Plaintiffs will amend this Complaint to set forth the true names

                                            21    and capacities of the fictitiously-named Defendants once ascertained.
                                            22
                                                               Plaintiffs are informed and believe, and thereon allege, that each of the
                                            23
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                                                  Defendants sued herein, including those named herein as Does, are the agents,
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                                            24
                                            25    servants, employees, licensees, guarantees, indemnitors, invitees, or assignees of
                                            26
                                                  each other, and in doing the things herein alleged acted within the course and scope
                                            27
                                            28
                                                                                            8               Case No.: 2:20-cv-00331-ODW-JC
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                                             1    of such agency, employment, license, guaranty, indemnity, invitation, assignment
                                             2
                                                  and/or relationship and with the full knowledge, consent and approval of the
                                             3
                                                  remaining Defendants.
                                             4
                                             5                                 STATEMENT OF FACTS
                                             6
                                                        A.     Plaintiffs Are Members Of A Devout Christian Family Who
                                             7                 Openly Express Their Christian Faith
                                             8                 Plaintiff OPF offers art instruction, including beginning drawing,
                                             9
                                                  graphite drawing, pen and ink, and colored pencil. It is a family business consisting
                                            10
                                            11    of sisters Elisabeth, Hannah, Melissa and Christiana Macy. OPF generally charges
                                            12    $100 for an eight-week course with all supplies included. OPF offers its lessons to
                                            13
                                                  individuals ranging in age from nine to adult.
                                            14
                                            15                 Plaintiffs maintain a website promoting their art lessons:
                                            16                 www.ourperculiarfamily.com
                                            17
                                                               On the “About” page of the website, Plaintiffs explain the derivation of
                                            18
                                            19    the business’ name and what makes its members a “peculiar” family:
                                            20          Our Peculiar Family got its start when Mike married Carol. Ten children later,
                                            21          the Macy family was complete! It very quickly became apparent that we were
                                                        one rather peculiar family, and not just because we home-schooled or had a
                                            22          large family. Rather it seemed that although we didn't excel in the traditional
                                            23          math and spelling, we majored in music, art and incredible gluten free
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                                                        desserts.
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                                            24
                                            25                 The family is also devoutly Christian. Thus, the description of being
                                            26
                                                  “peculiar” is also derived from Holy Scripture. In the King James Version of the
                                            27
                                            28
                                                                                            9              Case No.: 2:20-cv-00331-ODW-JC
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                                             1   Bible, Deuteronomy 14:2 reads as follows: “For thou art an holy people unto the
                                             2
                                                 Lord thy God, and the Lord hath chosen thee to be a peculiar people unto himself,
                                             3
                                                 above all the nations that are upon the earth.” (Emphasis added.) Also in the
                                             4
                                             5   King James Version, 1 Peter 2:9 reads as follows: “But ye are a chosen generation,
                                             6
                                                 a royal priesthood, an holy nation, a peculiar people; that ye should shew forth the
                                             7
                                                 praises of him who hath called you out of darkness into his marvelous light.”
                                             8
                                             9   (Emphasis added.)
                                            10
                                                          B.       Plaintiffs’ Website Features Religious Content
                                            11
                                                                   Although Plaintiffs express their religious identity in their website, the
                                            12
                                            13   services they provide are nonsectarian.2 Although Plaintiffs do not proselytize as
                                            14   part of the art lessons they offer, they nevertheless openly acknowledge that their
                                            15
                                                 artistic talents derive from God and that their faith informs the manner in which they
                                            16
                                            17   promote their services. For example, OPF’s website refers to “the Creator” as a
                                            18   motivating inspiration for their artistic vision:
                                            19
                                                          We have come to realize that our eyes see beauty that others sometimes miss.
                                            20            In that beauty we see purpose and meaning. From a decrepit old building or
                                            21            the many colors found on a rusty old car, to the barren stillness of our desert
                                                          valley to a wondering child's face, we believe the world around us reflects
                                            22            the beauty and glory of its Creator. Something deep within us longs to
                                            23            capture what we see and then to share it with others, so they too, may "see it"
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                                                          with us.
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                                            24
                                            25
                                            26
                                            27   2“Nonsectarian” is defined as “[n]ot affiliated with or limited to any particular religious group or its beliefs.”
                                                 Black's Law Dictionary , 1221 (10th ed., 2014).
                                            28
                                                                                                            10                     Case No.: 2:20-cv-00331-ODW-JC
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                                             1   (Emphasis added.) http://www.ourpeculiarfamily.com/our-family
                                             2
                                                                     Additionally, OPF quotes 1Peter 2:9 on the home page of its website to
                                             3
                                                 further explain the purpose behind their “peculiar” name.
                                             4
                                             5              C.       Defendants Have A Policy Of Excluding Vendors On The Basis Of
                                                                     Religion Or, Alternatively, Coercing Them To Choose Between
                                             6
                                                                     Exercising Their Religious Freedom Or Receiving A Government
                                             7                       Benefit
                                             8                       Pursuant to policy, practice and/or custom, Defendants have created a
                                             9
                                                 public forum for vendors to provide various educational services to students enrolled
                                            10
                                            11   within their charter schools.
                                            12                       Defendants partner with vendors in providing students with various
                                            13
                                                 products and services. Service vendors are required to submit an application for
                                            14
                                            15   approval before they become an approved school vendor. Its Vendor Center web
                                            16   page3 states in pertinent part:
                                            17
                                                            Every year our students are allocated Instructional Funds for their academic
                                            18              and extracurricular activities. These funds can be used for an array of
                                            19              personalized learning options such as fine arts courses, music classes,
                                                            tutoring, supplies, technology, supplemental education materials, and much
                                            20              more.
                                            21
                                                                     Defendants have adopted a policy of using only “secular” vendors
                                            22
                                            23   (“Secular Only Vendor Policy”) as stated on their website:
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                                            24              All student orders using Instructional Funds must be secular and are
                                            25              approved by the student’s teacher and our Enrichment Department before the
                                                            orders are placed by the school.
                                            26
                                            27
                                                 3   https://inspireschools.org/enrichment/vendor-center
                                            28
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                                             1
                                                 (Emphasis added.) https://inspireschools.org/enrichment/enrichment-ordering-
                                             2
                                             3   system. This language was revised following the filing of the initial Complaint in
                                             4
                                                 this action. It currently states: “Orders are approved by teachers and must be
                                             5
                                                 secular.”
                                             6
                                             7                  Vendors who are approved enter into a private contractual relationship
                                             8
                                                 with Inspire, but do not provide outsourced governmental functions as independent
                                             9
                                            10   contractors.

                                            11                  In order to be approved, a potential vendor is required to fill out a
                                            12
                                                 Vendor Application Survey linked on the Vendor Center web page.
                                            13
                                            14                  The survey can be found at:

                                            15                  https://docs.google.com/forms/d/e/1FAIpQLScTweLB05iS4GmmBgr
                                            16                  sKW8hkLXNMsAX6I5QzBx8VwbK8bef3Q/viewform?fbzx=-
                                                                4681351933715658926, last accessed on February 14, 2020.
                                            17
                                            18                  The Web Center page has been taken down since the filing of the initial

                                            19   Complaint in this action. Its URL was:
                                            20
                                                                   https://inspireschools.org/enrichment/vendor-center
                                            21
                                            22                  Sometime during August 2019, Macy filled out Inspire’s Vendor

                                            23   Application Survey. The Survey required Macy to enter her business’ address,
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                                            24
                                                 website and other information but did not give her the option of specifying locations
                                            25
                                            26   where she wished to furnish OPF’s services.

                                            27
                                            28
                                                                                           12              Case No.: 2:20-cv-00331-ODW-JC
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                                             1                In the section of the Survey asking for a “detailed description of the
                                             2
                                                 service,” Macy described OPF’s art instruction. Nothing in Macy’s description of
                                             3
                                                 the OPF’s services stated, suggested or implied that said services were religious in
                                             4
                                             5   nature or had “religious inclinations.”
                                             6
                                                              On or about September 6, 2019, Macy received an email from
                                             7
                                                 Defendant Caleb Jones in which Jones said that her application could not be
                                             8
                                             9   approved because:
                                            10
                                                       The services appear to be religious in nature or have religious
                                            11         inclinations. Services that contain religious content of any kind are not
                                            12         considered enrichment eligible and cannot be covered with our students’
                                                       general education instructional funds. As Inspire Charter Schools and its
                                            13         family of schools are public institutions that are funded by the state legislature,
                                            14         all services must be nonsectarian.

                                            15   (Emphasis added.) (A true and correct copy of the September 6, 2019, e-mail is
                                            16
                                                 attached hereto as Exhibit “A” and incorporated herein by reference.)
                                            17
                                            18                On or about September 11, 2019, Macy e-mailed Jones asking why her

                                            19   vendor application could not be processed or approved. (A true and correct copy of
                                            20
                                                 the e-mail is attached hereto as Exhibit “B” and incorporated herein by reference.)
                                            21
                                            22                On or about September 12, 2019, Jones e-mailed Macy back, clarifying

                                            23   that the decision to reject OPF’s application was content-based and derived from a
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                                            24
                                                 review of OPF’s website, not from Macy’s description of services on her Vendor
                                            25
                                            26   Survey. He wrote:

                                            27
                                            28
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                                             1         This decision was based upon the content included on your website. All
                                                       services and content on websites must be secular in nature for a vendor
                                             2
                                                       to be eligible for enrichment funds.
                                             3
                                                 (Emphasis added.) (A true and correct copy of the September 12, 2019, e-mail is
                                             4
                                             5   attached hereto as Exhibit “C” and incorporated herein by reference.)
                                             6
                                                              Later that day, Macy again wrote to Jones asking for clarification:
                                             7
                                                       Thank you for getting back to me. Could you be a little more specific as to
                                             8
                                                       what content on our website is inappropriate? I don’t remember seeing any
                                             9         guidelines as to what could or couldn’t be included on a website when I was
                                                       looking into becoming a vendor. Thank you.
                                            10
                                            11   (A true and correct copy of the September 12, 2019, e-mail is attached hereto as
                                            12
                                                 Exhibit “D” and incorporated herein by reference.)
                                            13
                                            14                On September 16, 2019, Jones telephoned Macy to advise her that she

                                            15   would be required to remove Bible verses and references to “the Creator” on her
                                            16
                                                 website in order to have her application approved.
                                            17
                                            18                On September 23, 2019, Macy sent an email to Jones asking him to

                                            19   confirm that her vendor application would not be approved unless she were to
                                            20
                                                 remove all religious references from her website. She wrote:
                                            21
                                            22         I have been talking to my sister (who also teaches the art classes) about our
                                                       conversation. She wants to make sure that I understood you correctly.
                                            23         Basically, the reason we were not approved as vendors for Inspire is because
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                                                       of the Bible verse on the Home page of our website and the reference to a
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                                       "Creator" on our About page, and not because of the content of our art classes,
                                            25         correct? If we were to remove those references, you said there shouldn't be a
                                            26         problem anymore?

                                            27
                                            28
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                                             1   (A true and correct copy of the September 23, 2019, e-mail is attached hereto as
                                             2
                                                 Exhibit “E” and incorporated herein by reference.)
                                             3
                                                              Shortly thereafter, Jones responded by conditioning approval of OPF’s
                                             4
                                             5   application on the removal of religious content from OPF’s website:
                                             6
                                                       Thank you for your email. As a public school, we are cautious with how we
                                             7         use our funds. We want to make sure that funds are used towards secular
                                                       services. We also are very careful with the impression that is given by our
                                             8
                                                       vendor's websites. This is the reasoning for the decision.
                                             9
                                                       If all services are secular and If you were willing to remove this content
                                            10
                                                       from your website, we could continue the approval process. However, this
                                            11         is completely up to you.
                                            12
                                                       I hope this helps clarify. Let me know if you have any other questions.
                                            13
                                            14   (Emphasis added.) (A true and correct copy of the September 23, 2019, e-mail is

                                            15   attached hereto as Exhibit “F” and incorporated herein by reference.)
                                            16
                                                              Jones’ rejection of Plaintiffs’ vendor application was based on either
                                            17
                                            18   his role as the sole decisionmaker acting pursuant to a duty he understood to flow

                                            19   from his office or pursuant to policies established, endorsed, ratified or sanctioned
                                            20
                                                 by the Inspire Governing Board members, all of whom, on information and belief,
                                            21
                                            22   possess the power to perpetuate the discriminatory policies alleged herein.

                                            23         D.     Plaintiffs Have Suffered Economic Injury
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                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                                              As a result of Defendants’ rejection of Plaintiffs’ vendor application,
                                            25
                                                 Plaintiffs have incurred the loss of the pecuniary value of the services they sought to
                                            26
                                            27   provide in an amount to be established at trial.
                                            28
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                                             1                              FIRST CLAIM FOR RELIEF
                                             2
                                                                           Violation of the First Amendment
                                             3                             (42 U.S.C. § 1983 – Free Speech)
                                             4
                                                      (Against Defendants Jones and DOES 1-25 in their official capacities and
                                             5                       Defendant Jones in his personal capacity)
                                             6                Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                                             7
                                                              The First Amendment to the United States Constitution prohibits
                                             8
                                             9   abridgement of the freedom of speech, and the First Amendment is incorporated
                                            10   against the states by the Fourteenth Amendment. Persons violating the First
                                            11
                                                 Amendment under color of law are liable at law and in equity under 42 U.S.C. §
                                            12
                                            13   1983.
                                            14                Facial challenge: Defendants have an express policy (“Secular Only
                                            15
                                                 Vendor Policy”) of excluding vendors who engage in religious expression from
                                            16
                                            17   partnership with them. Inspire’s website affirmatively states this policy as follows:
                                            18   “All student orders using Instructional Funds must be secular….”
                                            19
                                                              As-applied challenge: As detailed above, Jones engaged in a series of
                                            20
                                            21   communications with Macy in which he stated that the decision to reject Plaintiffs’
                                            22
                                                 vendor application “was based upon the content included on your website,” that
                                            23
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                                                 “[a]ll services and content on websites must be secular in nature for a vendor to be
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   eligible for enrichment funds,” that “[w]e want to make sure that funds are used
                                            26
                                                 towards secular services,” and that “[i]f all services are secular and if you were
                                            27
                                            28
                                                                                          16              Case No.: 2:20-cv-00331-ODW-JC
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                                             1   willing to remove this content from your website, we could continue the approval
                                             2
                                                 process.”
                                             3
                                                               On its face and as applied to Plaintiffs, the Secular Only Vendor Policy
                                             4
                                             5   is a content-based prior restraint on speech that requires Defendants to choose
                                             6
                                                 between exercising their religious freedom or receiving a government benefit in the
                                             7
                                                 form of vendor application approval.
                                             8
                                             9                 On its face and as applied to Plaintiffs, the Secular Only Vendor Policy
                                            10
                                                 is a viewpoint-based prior restraint on speech that allows secular (non-religious)
                                            11
                                            12   expression but disallows religious expression, thereby giving preference to non-

                                            13   religious expression.
                                            14
                                                               By reason of the aforementioned policy, practice, custom, acts, and
                                            15
                                            16   omissions, engaged in under color of state law, Defendants have imposed content-

                                            17   and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech
                                            18
                                                 Clause of the First Amendment as applied to the states and their political
                                            19
                                            20   subdivisions under the Fourteenth Amendment to the United States Constitution and

                                            21   42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon
                                            22
                                                 its content and viewpoint, and have prohibited Plaintiff from expressing their
                                            23
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                                                 religious messages with no compelling state interest that would justify such
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   censorship.
                                            26
                                            27
                                            28
                                                                                           17              Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 As a direct and proximate consequence of Defendants’ violation of
                                             2
                                                 Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                                             3
                                                 Plaintiffs have suffered and will suffer irreparable injury that cannot fully be
                                             4
                                             5   compensated by an award of monetary damages.
                                             6
                                                               Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                             7
                                                 declaratory relief and preliminary and permanent injunctive prospective relief
                                             8
                                             9   invalidating and restraining enforcement of the restrictions allowed or required by
                                            10
                                                 the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                            11
                                            12   website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to

                                            13   Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                            14
                                                 capacities.
                                            15
                                            16                 Additionally, Plaintiffs are entitled to their actual and nominal damages

                                            17   arising from Defendant Jones’ unconstitutional actions in his personal capacity while
                                            18
                                                 acting under color of state law, as well as reasonable costs of suit.
                                            19
                                            20                 Plaintiff found it necessary to engage the services of private counsel to

                                            21   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
                                            22
                                                 attorneys’ fees pursuant to 42 U.S.C. § 1988.
                                            23
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                                                                           SECOND CLAIM FOR RELIEF
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25                           Violation of the First Amendment
                                            26                  (42 U.S.C. § 1983 – Free Speech Clause – Retaliation)

                                            27        (Against Defendants Jones and DOES 1-25 in their official capacities and
                                            28
                                                                                           18               Case No.: 2:20-cv-00331-ODW-JC
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                                             1                          Defendant Jones in his personal capacity)
                                             2                   Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                                             3
                                                              The First Amendment to the United States Constitution prohibits
                                             4
                                             5   abridgement of the freedom of speech, and the First Amendment is incorporated
                                             6   against the states by the Fourteenth Amendment. Persons violating the First
                                             7
                                                 Amendment under color of law are liable at law and in equity under 42 U.S.C.
                                             8
                                             9   section 1983.
                                            10                With certain exceptions not applicable here, public agencies may not
                                            11
                                                 take adverse action against citizens, including vendors who seek to provide services
                                            12
                                            13   to the agencies, based on speech or expression by those persons with whom the
                                            14   agencies or their officials or employees disagree.
                                            15
                                                              When Plaintiffs applied for vendor approval with Inspire, they engaged
                                            16
                                            17   in a constitutionally protected activity, religious expression on their website.
                                            18                Acting under color of state law, Defendants violated Plaintiffs’ clearly
                                            19
                                                 established rights under the First Amendment by retaliating against Plaintiffs’
                                            20
                                            21   constitutionally protected speech.
                                            22
                                                                 Defendant Jones’ adverse action caused Plaintiffs injury by requiring
                                            23
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                                                 them to remove the Bible verses on their website. Such a requirement has the effect
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   of deterring or chilling a person of ordinary firmness from continuing to engage in
                                            26
                                                 such activity in order to partner with Inspire as a vendor. Defendant Jones’
                                            27
                                            28
                                                                                            19              Case No.: 2:20-cv-00331-ODW-JC
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                                             1   requirement was motivated at least in part as a response to the exercise of the
                                             2
                                                 Plaintiff's constitutional rights to engage in religious expression.
                                             3
                                                               Defendant DOES 1-25 joined the above-referenced Defendants in
                                             4
                                             5   violating Plaintiffs’ clearly established rights by ratifying, endorsing and approving
                                             6
                                                 Defendant Jones’ acts in violation of Plaintiffs’ clearly established rights. Such
                                             7
                                                 Defendants thereby established a policy to violate those rights in that manner.
                                             8
                                             9                 By reason of the aforementioned policy, practice, custom, acts, and
                                            10
                                                 omissions, engaged in under color of state law, Defendants have imposed content-
                                            11
                                            12   and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech

                                            13   Clause of the First Amendment as applied to the states and their political
                                            14
                                                 subdivisions under the Fourteenth Amendment to the United States Constitution and
                                            15
                                            16   42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon

                                            17   its content and viewpoint, and have prohibited Plaintiff from expressing their
                                            18
                                                 religious messages with no compelling state interest that would justify such
                                            19
                                            20   censorship.

                                            21                 As a direct and proximate consequence of Defendants’ violation of
                                            22
                                                 Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                                            23
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                                                 Plaintiffs have suffered and will suffer irreparable injury that cannot fully be
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   compensated by an award of monetary damages.
                                            26
                                            27
                                            28
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                                             1                 Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                             2
                                                 declaratory relief and preliminary and permanent injunctive prospective relief
                                             3
                                                 invalidating and restraining enforcement of the restrictions allowed or required by
                                             4
                                             5   the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                             6
                                                 website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to
                                             7
                                                 Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                             8
                                             9   capacities.
                                            10
                                                               Additionally, Plaintiffs are entitled to their actual and nominal damages
                                            11
                                            12   arising from Defendant Jones’ unconstitutional actions in his personal capacity while

                                            13   acting under color of state law, as well as reasonable costs of suit.
                                            14
                                                               Plaintiff found it necessary to engage the services of private counsel to
                                            15
                                            16   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of

                                            17   attorneys’ fees pursuant to 42 U.S.C. § 1988.
                                            18
                                                                            THIRD CLAIM FOR RELIEF
                                            19
                                            20                            Violation of the First Amendment
                                                                    (42 U.S.C. § 1983 – Free Exercise of Religion)
                                            21
                                            22        (Against Defendants Jones and DOES 1-25 in their official capacities and
                                                                     Defendant Jones in his personal capacity)
                                            23
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                                                               Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25                 Defendants’ policy and practice of prohibiting Plaintiffs and other
                                            26
                                                 similarly situated vendors from engaging in religious expression on their websites
                                            27
                                            28
                                                                                           21               Case No.: 2:20-cv-00331-ODW-JC
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                                             1   violates the Free Exercise Clause of the First Amendment to the United States
                                             2
                                                 Constitution, as incorporated and applied to Defendants under the Fourteenth
                                             3
                                                 Amendment.
                                             4
                                             5                Defendants’ requirement that Plaintiffs make a choice between
                                             6
                                                 exercising their constitutional right to engage in religious expression on their website
                                             7
                                                 or receive a government benefit in the form of approval of their vendor application
                                             8
                                             9   was motivated by a discriminatory purpose.
                                            10
                                                              Plaintiffs desire to engage in the expressive activities described above
                                            11
                                            12   on the basis of their sincerely held religious beliefs.

                                            13                By reason of the aforementioned policy, practice, custom, acts, and
                                            14
                                                 omissions, engaged in under color of state law, Defendants have violated the Free
                                            15
                                            16   Exercise Clause of the First Amendment to the United States Constitution as applied

                                            17   to the states and their political subdivisions under the Fourteenth Amendment to the
                                            18
                                                 United States Constitution and 42 U.S.C. § 1983.
                                            19
                                            20                Defendants’ policy and practice substantially burdens Plaintiffs’ free

                                            21   exercise of religion by conditioning their right to receive vendor approval by
                                            22
                                                 removing religious messages from their website.
                                            23
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                                                              Defendants’ policy and practice, as demonstrated by Jones’ emails, are
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   not neutral or generally applicable as they deny Plaintiffs and other vendors similarly
                                            26
                                                 situated the ability to express their religious viewpoints on their websites.
                                            27
                                            28
                                                                                            22              Case No.: 2:20-cv-00331-ODW-JC
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                                             1                Defendants’ policy and practice are not neutral because they target
                                             2
                                                 religious speech and permit Defendants to arbitrarily decide what speech is
                                             3
                                                 permitted under the policy and practice and what speech is not.
                                             4
                                             5                Defendants’ policy and practice constitute the imposition of special
                                             6
                                                 disabilities on Plaintiffs due to their religious expression.
                                             7
                                                              These special disabilities apply only to religious speech and exercise
                                             8
                                             9   and to no other speech.
                                            10
                                                              Defendants’ policy and practice cannot be justified by a compelling
                                            11
                                            12   governmental interest and are not narrowly tailored to advance any such interest.

                                            13                Defendants’ policy and practice chill Plaintiffs’ freedom of religious
                                            14
                                                 exercise, which is a fundamental right guaranteed to Plaintiff            by the First
                                            15
                                            16   Amendment.

                                            17                Defendants’ policy and practice of prohibiting Plaintiffs from
                                            18
                                                 expressing religious messages on their website so as not to forfeit a chance to partner
                                            19
                                            20   with Inspire by providing art instruction to students lacks a valid secular purpose,

                                            21   has the primary effect of inhibiting religion, and creates an excessive entanglement
                                            22
                                                 with religion in violation of the United States Constitution.
                                            23
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                                                              Defendants’ policy and practice of prohibiting Plaintiffs from
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   expressing religious messages on their website so as not to forfeit a chance to partner
                                            26
                                                 with Inspire by providing art instruction to students conveys an impermissible,
                                            27
                                            28
                                                                                           23               Case No.: 2:20-cv-00331-ODW-JC
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                                             1   government-sponsored message of disapproval of and hostility toward religion. As
                                             2
                                                 a result, Defendants’ policy and practice sends a clear message to Plaintiffs that they
                                             3
                                                 are outsiders, not full members of the vendor community, and an accompanying
                                             4
                                             5   message that secular vendors are insiders and favored members of the vendor
                                             6
                                                 community in violation of the United States Constitution.
                                             7
                                                               By reason of the aforementioned policy, practice, custom, acts, and
                                             8
                                             9   omissions, engaged in under color of state law, Defendants have imposed content-
                                            10
                                                 and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech
                                            11
                                            12   Clause of the First Amendment as applied to the states and their political

                                            13   subdivisions under the Fourteenth Amendment to the United States Constitution and
                                            14
                                                 42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon
                                            15
                                            16   its content and viewpoint, and have prohibited Plaintiff from expressing their

                                            17   religious messages with no compelling state interest that would justify such
                                            18
                                                 censorship.
                                            19
                                            20                 As a direct and proximate consequence of Defendants’ violation of

                                            21   Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                                            22
                                                 Plaintiffs have suffered and will suffer irreparable injury that cannot fully be
                                            23
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                                                 compensated by an award of monetary damages.
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25                 Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                            26
                                                 declaratory relief and preliminary and permanent injunctive prospective relief
                                            27
                                            28
                                                                                           24              Case No.: 2:20-cv-00331-ODW-JC
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                                             1   invalidating and restraining enforcement of the restrictions allowed or required by
                                             2
                                                 the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                             3
                                                 website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to
                                             4
                                             5   Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                             6
                                                 capacities.
                                             7
                                                               Additionally, Plaintiffs are entitled to their actual and nominal damages
                                             8
                                             9   arising from Defendant Jones’ unconstitutional actions in his personal capacity while
                                            10
                                                 acting under color of state law, as well as reasonable costs of suit.
                                            11
                                            12                 Plaintiff found it necessary to engage the services of private counsel to

                                            13   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
                                            14
                                                 attorneys’ fees pursuant to 42 U.S.C. § 1988.
                                            15
                                            16                            FOURTH CLAIM FOR RELIEF

                                            17                            Violation of the First Amendment
                                            18                      (42 U.S.C. § 1983 – Establishment of Religion)

                                            19        (Against Defendants Jones and DOES 1-25 in their official capacities and
                                            20                       Defendant Jones in his personal capacity)

                                            21                 Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                                            22
                                                               The Establishment Clause applies not only to official preference of a
                                            23
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                                                 particular religion or religious belief, but also to official disapproval or hostility
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   toward religion. The Establishment Clause mandates governmental neutrality
                                            26
                                                 between religion and nonreligion.
                                            27
                                            28
                                                                                           25               Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 By reason of the aforementioned policy, practice, custom, acts, and
                                             2
                                                 omissions, engaged in under color of state law, Defendants have imposed content-
                                             3
                                                 and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech
                                             4
                                             5   Clause of the First Amendment as applied to the states and their political
                                             6
                                                 subdivisions under the Fourteenth Amendment to the United States Constitution and
                                             7
                                                 42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon
                                             8
                                             9   its content and viewpoint, and have prohibited Plaintiff from expressing their
                                            10
                                                 religious messages with no compelling state interest that would justify such
                                            11
                                            12   censorship.

                                            13                 As a direct and proximate consequence of Defendants’ violation of
                                            14
                                                 Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                                            15
                                            16   Plaintiffs have suffered and will suffer irreparable injury that cannot fully be

                                            17   compensated by an award of monetary damages.
                                            18
                                                               Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                            19
                                            20   declaratory relief and preliminary and permanent injunctive prospective relief

                                            21   invalidating and restraining enforcement of the restrictions allowed or required by
                                            22
                                                 the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                            23
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                                                 website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                            26
                                                 capacities.
                                            27
                                            28
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                                             1                Additionally, Plaintiffs are entitled to their actual and nominal damages
                                             2
                                                 arising from Defendant Jones’ unconstitutional actions in his personal capacity while
                                             3
                                                 acting under color of state law, as well as reasonable costs of suit.
                                             4
                                             5                Plaintiff found it necessary to engage the services of private counsel to
                                             6
                                                 vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
                                             7
                                                 attorneys’ fees pursuant to 42 U.S.C. § 1988.
                                             8
                                             9                              FIFTH CLAIM FOR RELIEF
                                            10
                                                                        Violation of the Fourteenth Amendment
                                            11                           (42 U.S.C. § 1983 – Equal Protection)
                                            12
                                                      (Against Defendants Jones and DOES 1-25 in their official capacities and
                                            13                       Defendant Jones in his personal capacity)
                                            14                 Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                                            15
                                                              A facially neutral policy that has been applied in an unlawfully
                                            16
                                            17   discriminatory manner or has an adverse effect and was motivated by discriminatory
                                            18   animus violates the Equal Protection Clause of the Fourteenth Amendment.
                                            19
                                                              By their actions in prohibiting Plaintiff from entering into a vendor
                                            20
                                            21   contract with Inspire due to the appearance of religious content on Plaintiffs’
                                            22
                                                 website, Defendants have treated Plaintiffs differently from other vendors and have
                                            23
            11500 OLYMPIC BLVD, SUITE 400




                                                 inconsistently applied their policies based upon subjective determinations as to
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   which messages are acceptable and which messages are not.
                                            26
                                            27
                                            28
                                                                                           27               Case No.: 2:20-cv-00331-ODW-JC
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                                             1                 The Secular Only Vendor Policy is so overbroad that it vests in Inspire
                                             2
                                                 officials, including Defendant Jones, unfettered discretion to apply it in a
                                             3
                                                 discriminatory manner.
                                             4
                                             5                 The Secular Only Vendor Policy is so overbroad that it has the adverse
                                             6
                                                 effect of allowing Defendants to suppress Plaintiffs’ lawful religious expression.
                                             7
                                                               Defendant Jones was motivated by discriminatory animus toward
                                             8
                                             9   religion in suppressing Plaintiffs’ lawful religious expression.
                                            10
                                                               By reason of the aforementioned policy, practice, custom, acts, and
                                            11
                                            12   omissions, engaged in under color of state law, Defendants have imposed content-

                                            13   and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech
                                            14
                                                 Clause of the First Amendment as applied to the states and their political
                                            15
                                            16   subdivisions under the Fourteenth Amendment to the United States Constitution and

                                            17   42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon
                                            18
                                                 its content and viewpoint, and have prohibited Plaintiff from expressing their
                                            19
                                            20   religious messages with no compelling state interest that would justify such

                                            21   censorship.
                                            22
                                                               As a direct and proximate consequence of Defendants’ violation of
                                            23
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                                                 Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   Plaintiffs have suffered and will suffer irreparable injury that cannot fully be
                                            26
                                                 compensated by an award of monetary damages.
                                            27
                                            28
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                                             1                 Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                             2
                                                 declaratory relief and preliminary and permanent injunctive prospective relief
                                             3
                                                 invalidating and restraining enforcement of the restrictions allowed or required by
                                             4
                                             5   the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                             6
                                                 website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to
                                             7
                                                 Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                             8
                                             9   capacities.
                                            10
                                                               Additionally, Plaintiffs are entitled to their actual and nominal damages
                                            11
                                            12   arising from Defendant Jones’ unconstitutional actions in his personal capacity while

                                            13   acting under color of state law, as well as reasonable costs of suit.
                                            14
                                                               Plaintiff found it necessary to engage the services of private counsel to
                                            15
                                            16   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of

                                            17   attorneys’ fees pursuant to 42 U.S.C. § 1988.
                                            18
                                                                            SIXTH CLAIM FOR RELIEF
                                            19
                                            20                          Violation of the Fourteenth Amendment
                                                                           (42 U.S.C. § 1983 – Due Process)
                                            21
                                            22        (Against Defendants Jones and DOES 1-25 in their official capacities and
                                                                     Defendant Jones in his personal capacity)
                                            23
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                                                               Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25                 Defendants, acting under color of state law and according to a policy,
                                            26
                                                 pattern and practice, have enacted the Secular Only Venodor Policy, which is vague,
                                            27
                                            28
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                                             1   overbroad, and improperly affords Defendants unfettered discretion in its
                                             2
                                                 application, and therefore deprives Plaintiffs of their clearly established due process
                                             3
                                                 rights guaranteed by the Fourteenth Amendment to the United States Constitution.
                                             4
                                             5                 Defendants violated Plaintiffs’ due process rights by rejecting their
                                             6
                                                 application to provide art instruction to students enrolled within ISC schools due
                                             7
                                                 solely to the religious content expressed on Plaintiffs’ website.
                                             8
                                             9                 By rejecting Plaintiffs’ application,        Defendants demonstrated a
                                            10
                                                 reckless and callous indifference to Plaintiffs’ rights.
                                            11
                                            12                 By reason of the aforementioned policy, practice, custom, acts, and

                                            13   omissions, engaged in under color of state law, Defendants have imposed content-
                                            14
                                                 and viewpoint-based restrictions on Plaintiffs’ speech in violation of the Free Speech
                                            15
                                            16   Clause of the First Amendment as applied to the states and their political

                                            17   subdivisions under the Fourteenth Amendment to the United States Constitution and
                                            18
                                                 42 U.S.C. § 1983 in that Defendants have censored Plaintiffs’ speech, based upon
                                            19
                                            20   its content and viewpoint, and have prohibited Plaintiff from expressing their

                                            21   religious messages with no compelling state interest that would justify such
                                            22
                                                 censorship.
                                            23
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                                                               As a direct and proximate consequence of Defendants’ violation of
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   Plaintiffs’ federal civil rights under 42 U.S.C. § 1983 and the First Amendment,
                                            26
                                            27
                                            28
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                                             1   Plaintiffs have suffered and will suffer irreparable injury that cannot fully be
                                             2
                                                 compensated by an award of monetary damages.
                                             3
                                                               Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
                                             4
                                             5   declaratory relief and preliminary and permanent injunctive prospective relief
                                             6
                                                 invalidating and restraining enforcement of the restrictions allowed or required by
                                             7
                                                 the Secular Only Vendor Policy prohibiting religious messages on Plaintiffs’
                                             8
                                             9   website. As to this claim for relief, Plaintiffs seek said equitable relief pursuant to
                                            10
                                                 Ex Parte Young, 209 U.S. 123 (1908) against all Defendants acting in their official
                                            11
                                            12   capacities.

                                            13                 Additionally, Plaintiffs are entitled to their actual and nominal damages
                                            14
                                                 arising from Defendant Jones’ unconstitutional actions in his personal capacity while
                                            15
                                            16   acting under color of state law, as well as reasonable costs of suit.

                                            17                 Plaintiff found it necessary to engage the services of private counsel to
                                            18
                                                 vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
                                            19
                                            20   attorneys’ fees pursuant to 42 U.S.C. § 1988.

                                            21                            SEVENTH CLAIM FOR RELIEF
                                            22                   Violation of the California’s Unruh Civil Rights Act
                                            23                         (Cal. Civ. Code §§ 51, 51.5, 52 & 52.1)
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                LOS ANGELES, CA 90064
FREEDOM X




                                            24                                      (Against All Defendants)
                                            25
                                                               Plaintiffs hereby incorporate by reference all above-stated paragraphs.
                                            26
                                            27
                                            28
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                                             1                All persons within the jurisdiction of the State of California are free and
                                             2
                                                 equal, and no matter what their religion status are entitled to the full and equal
                                             3
                                                 accommodations, advantages, facilities, privileges, or services in all business
                                             4
                                             5   establishments of every kind whatsoever. “Religion” includes all aspects of religious
                                             6
                                                 belief, observance, and practice.
                                             7
                                                              No business establishment of any kind whatsoever shall discriminate
                                             8
                                             9   against, boycott or blacklist, or refuse to buy from, contract with, sell to, or trade
                                            10
                                                 with any person in this state on account of religion.
                                            11
                                            12                Defendants, and each of them, adopted, applied, enforced or otherwise

                                            13   carried out a policy of discrimination by rejecting Plaintiffs’ vendor application on
                                            14
                                                 the basis of Plaintiffs’ religious expression on their website.
                                            15
                                            16                Defendants’ additionally interfered with Plaintiffs’ constitutional rights

                                            17   by attempting to coerce them into altering their website by removing references to
                                            18
                                                 Bible verses. Such attempts to coerce Plaintiffs required them to choose between
                                            19
                                            20   exercising their freedom of religion or receiving a government benefit, to wit,

                                            21   approval of their vendor application.
                                            22
                                                              Defendants, and each of them, are liable to Plaintiffs for their actual
                                            23
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                                                 damages, and an amount up to a maximum of three times the amount of actual
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   damage but in no case less than four thousand dollars ($4,000).
                                            26
                                            27
                                            28
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                                             1                Defendants, and each of them, are additionally liable to Plaintiffs for
                                             2
                                                 attorney's fees.
                                             3
                                                              Defendants, and each of them, are additionally liable to Plaintiffs for
                                             4
                                             5   exemplary damages.
                                             6
                                                              Defendants, and each of them, are additionally liable to Plaintiffs for a
                                             7
                                                 civil penalty of twenty-five thousand dollars ($25,000).
                                             8
                                             9                                   PRAYER FOR RELIEF
                                            10
                                                       WHEREFORE, Plaintiffs respectfully pray for relief and judgment against
                                            11
                                            12   Defendants, jointly and severally, as follows, in amounts according to proof:

                                            13         1.     For judgment in favor of Plaintiffs against Defendants;
                                            14
                                                       2.     For a declaration that the Secular Only Vendor Policy is
                                            15
                                            16   unconstitutional on its face;

                                            17         3.     For a declaration that the Secular Only Vendor Policy is
                                            18
                                                 unconstitutionally overbroad on its face;
                                            19
                                            20         4.     For a declaration that the Secular Only Vendor Policy is

                                            21   unconstitutional as applied;
                                            22
                                                       5.     For a declaration that Defendants violated 42 U.S.C. § 1983;
                                            23
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                                                       6.     For a declaration that Defendants violated the First and Fourteenth
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   Amendments to the United States Constitution;
                                            26
                                            27
                                            28
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                                             1         7.     For preliminary and permanent injunctive relief prohibiting Defendants
                                             2
                                                 from enforcing their unconstitutional content- and/or viewpoint-based Secular Only
                                             3
                                                 Vendor Policy against Plaintiffs and those similarly situated and from
                                             4
                                             5   unconstitutionally ratifying a heckler’s veto by inhibiting Plaintiffs’ First
                                             6
                                                 Amendment and Fourteenth Amendment rights of speech and expression and those
                                             7
                                                 rights belonging to third parties in the future;
                                             8
                                             9         8.     For compensatory damages according to proof against Defendant Jones
                                            10
                                                 and DOES 1-25 in their personal capacities only pursuant to the First and Fourteenth
                                            11
                                            12   Amendments to the United States Constitution;

                                            13         9.     For nominal damages for the past loss of their constitutional rights as
                                            14
                                                 set forth in this Complaint against Defendant Jones and DOES 1-25 in their personal
                                            15
                                            16   capacities only pursuant to the First and Fourteenth Amendments to the United

                                            17   States Constitution;
                                            18
                                                       10.    For punitive and exemplary damages for all claims for which such
                                            19
                                            20   damages are authorized against Defendant Jones and DOES 1-25 in their personal

                                            21   capacities only pursuant to the First and Fourteenth Amendments to the United
                                            22
                                                 States Constitution;
                                            23
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                                                       11.    For actual damages against all Defendants pursuant to California’s
                LOS ANGELES, CA 90064
FREEDOM X




                                            24
                                            25   Unruh Civil Rights Act (Cal. Civ. Code §§ 51, 51.5, 52 & 52.1);
                                            26
                                            27
                                            28
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                                             1         12.    For an amount up to a maximum of three times the amount of actual
                                             2
                                                 damage per Plaintiff per Defendant but in no case less than four thousand dollars
                                             3
                                                 ($4,000) pursuant to California’s Unruh Civil Rights Act (Cal. Civ. Code §§ 51,
                                             4
                                             5   51.5, 52 & 52.1);
                                             6
                                                       13.    For a civil penalty of twenty-five thousand dollars ($25,000) against all
                                             7
                                                 Defendants per Plaintiff per Defendant pursuant to California’s Unruh Civil Rights
                                             8
                                             9   Act (Cal. Civ. Code §§ 51, 51.5, 52 & 52.1);
                                            10
                                                       14.    For an award of reasonable attorneys’ fees, costs and expenses pursuant
                                            11
                                            12   to 42 U.S.C. § 1988, California’s Unruh Civil Rights Act (Cal. Civ. Code §§ 51,

                                            13   51.5, 52 & 52.1), Cal. Civ. Proc. § 1021.5 and other applicable law;
                                            14
                                                       15.    For costs of suit incurred herein pursuant to 42 U.S.C. § 1988,
                                            15
                                            16   California’s Unruh Civil Rights Act (Cal. Civ. Code §§ 51, 51.5, 52 & 52.1), and

                                            17   other applicable law; and
                                            18
                                                       16.    For such other and further relief as the Court deems just and proper.
                                            19
                                            20   DATE: February 14, 2020                Respectfully submitted,

                                            21                                          FREEDOM X

                                            22                                           s/ William J. Becker, Jr.
                                            23                                          Attorneys for Plaintiffs
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                LOS ANGELES, CA 90064
FREEDOM X




                                            24               DEMAND FOR JURY TRIAL ON FOLLOWING PAGE
                                            25
                                            26
                                            27
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                                             1                              DEMAND FOR JURY TRIAL
                                             2
                                                        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs Our
                                             3
                                                 Peculiar Family, Elisabeth Macy, Hannah Macy, Melissa Macy and Christiana Macy
                                             4
                                             5   demand trial by jury on all individual claims they bring against Defendants in this
                                             6
                                                 action of all issues so triable.
                                             7
                                                 DATE: February 14, 2020
                                             8
                                                                                       FREEDOM X
                                             9
                                            10                                          s/ William J. Becker, Jr.
                                            11                                         Attorneys for Plaintiffs

                                            12
                                                                    VERIFICATIONS ON FOLLOWING PAGE
                                            13
                                            14
                                            15
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FREEDOM X




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           1                                    VERIFICATION
           2
                      I, Elisabeth Macy, declare under penalty of perjury under the laws of the
           3
               United States of America that the foregoing is true and correct. 28 U.S.C. § 1746.
           4
           5
           6
                                                             �c
           7                                                               � and on
                                                             Elisabeth Macy,�al,
                                                             behalf of Our Peculiar Family, a sole
           8
                                                             proprietorship
           9
          10   Dated: February 14, 2020
          11
          12
                                                VERIFICATION
          13
          14          I, Hannah Macy, dee I are under penalty of perjury under the laws of the

          15   United States of America that the foregoing is true and correct. 28 U.S.C. § 1746.
          16
          17
          18
          19
                                                             �,Q��
                                                             Hannah Macy, an indi� and on
                                                             behalf of Our Peculiar Family, a sole
          20                                                 proprietorship

          21
               Dated: February 14, 2020
          22
          23
�-.:�1    24                   VERIFICATIONS CONTINUE ON NEXT PAGE
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              1                                   VERIFICATION
              2
                        I, Melissa Macy, declare under penalty of perjury under the laws of the
              3
                  United States of America that the foregoing is true and correct. 28 U.S.C. § 1746.
              4
              5
              6
              7
                                                                �n
                                                                MelissaM7y, anTr£ividual, and on
                                                                behalf of Our Peculiar Family, a sole
              8
                                                                proprietorship
              9
             10   Dated: February 14, 2020
             11
             12
                                                  VERIFICATION
             13
             14         I, Christiana Macy, declare under penalty of perjury under the laws of the

             15   United States of America that the foregoing is true and correct. 28 U.S .C. § 1746.
             16
             17
             18
                                                                Christiana ac , an in ividual, and
             19                                                 on behalf of Our Peculiar Family, a
             20                                                 sole proprietorship

             21
                  Dated: February 14, 2020
             22
             23
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                  Verified Complaint
